                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI
                                 CENTRAL DIVISION

UNITED STATES OF AMERICA,                      )
                                               )
                              Plaintiff,       )
                                               )
               v.                              )      No. 11-04033-10-CR-C-NKL
                                               )
STEWART WILLIAM KIMBRELL,                      )
                                               )
                              Defendant.       )


                           ACCEPTANCE OF PLEA OF GUILTY
                            AND ADJUDICATION OF GUILT

       Pursuant to the Report and Recommendation of United States Magistrate Judge Matt J.

Whitworth, to which no objection has been filed, the plea of guilty to Count 2 of the Second

Superseding Indictment is now accepted.       Defendant is adjudged guilty of such offense.

Sentencing will be set by subsequent order of the court.


                                                       s/ NANETTE K. LAUGHREY
                                                      NANETTE K. LAUGHREY
                                                      United States District Judge

Dated: August 21, 2012




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